Case 1:16-cv-04756-NGG-VMS Document 123-9 Filed 12/15/17 Page 1 of 16 PageID #: 2175
Case 1:16-cv-04756-NGG-VMS Document 123-9 Filed 12/15/17 Page 2 of 16 PageID #: 2176
Case 1:16-cv-04756-NGG-VMS Document 123-9 Filed 12/15/17 Page 3 of 16 PageID #: 2177
Case 1:16-cv-04756-NGG-VMS Document 123-9 Filed 12/15/17 Page 4 of 16 PageID #: 2178
Case 1:16-cv-04756-NGG-VMS Document 123-9 Filed 12/15/17 Page 5 of 16 PageID #: 2179
Case 1:16-cv-04756-NGG-VMS Document 123-9 Filed 12/15/17 Page 6 of 16 PageID #: 2180
Case 1:16-cv-04756-NGG-VMS Document 123-9 Filed 12/15/17 Page 7 of 16 PageID #: 2181




                                                                                                                      FACT SHEET: HOUSING
                                                                                               Department of Planning, Building & Code Enforcement, Planning Division




        HOUSING RENTALS



                                                           Asking
        Unit Type                                        Rental Rate

        Studio                                             $1,802
        1 Bedroom                                          $2,244
        2 Bedroom                                          $2,792
        3 Bedroom                                          $3,368

        Average                                            $2,473



        Source: RealFacts; First Quarter 2016                                                                   Ohlone Court Apartments, South San Jose
        HOUSING SALES

                                                                            Average            Median          Days on
        Unit Type                                           Sales            Price              Price          Market
        Single-Family Detached                               299            $889,423           $811,000          36
        Condominium/Townhouse                                155            $543,903           $500,000          28




        Source: Santa Clara County Assoc of Realtors; January 2016
        HOUSING TENURE AND VACANCY



        Tenure
        Owner Occupied Units                                    56.1%
        Renter Occupied Units                                   43.9%

        Vacancy Rate                                                 4.5%




        Source: US Census Bureau, American Community Survey; 2014
        HOUSING UNITS BY TYPE
                                                                                                                 Los Esteros Apartments, North San Jose
                                                                                 Single-Family                                  Mobile
                                                          Total Units       Detached           Attached      Multi-Family       Homes


        San Jose                                           323,195          176,881             36,745         100,179          9,390
        Santa Clara County                                 651,171          348,959             67,992         216,121         18,099

        Source: California Department of Finance; 2014


                                                                                Page 7 of 10
Case 1:16-cv-04756-NGG-VMS Document 123-9 Filed 12/15/17 Page 8 of 16 PageID #: 2182
Case 1:16-cv-04756-NGG-VMS Document 123-9 Filed 12/15/17 Page 9 of 16 PageID #: 2183




                                                                          FACT SHEET: QUALITY OF LIFE
                                                                    Department of Planning, Building & Code Enforcement, Planning Division


                                                               CULTURAL / RECREATIONAL RESOURCES




          Family Resources
                                                               Nightlife / Performing Arts Resources
          Children's Discovery Museum
          Christmas in the Park                                Ballet San Jose Silicon Valley
          Downtown Farmer's Market                             Broadway San Jose
          Dr. Martin Luther King, Jr. Library                  Children's Musical Theater San Jose
          Happy Hollow Park and Zoo                            Opera San Jose
          History Park                                         San Jose Jazz
          HP Pavilion                                          San Jose Repertory Theatre
          Japanese Friendship Garden in Kelley Park            San Jose Stage Company
          Lake Cunningham Park/Raging Waters                   Symphony Silicon Valley
          Lick Observatory
          Logitech Ice at San Jose
          Mexican Heritage Plaza
          Outback Adventures
          Peralta Adobe and Fallon House Historic Site
          Prusch Farm Park
          Rosicrucian Egyptian Museum
          San Jose Municipal Rose Garden
          San Jose Museum of Art
          San Jose Museum of Quilts and Textiles
          The Tech Museum of Innovation
          Winchester Mystery House




                                                               Professional Sports Resources

                                                               Amgen Tour of California (Professional Cycling)
                                                               San Jose Giants (Minor League Baseball)
                                                               San Jose SaberCats (Arena Football League)
                                                               San Jose Sharks (National Hockey League)
                                                               San Jose Stealth (National Lacrosse League)

                                                               Source: City of San Jose; 2011




                                                         Page 9 of 10
Case 1:16-cv-04756-NGG-VMS Document 123-9 Filed 12/15/17 Page 10 of 16 PageID #:
                                   2184



                                                                                                                       FACT SHEET: QUALITY OF LIFE
                                                                                                                Department of Planning, Building & Code Enforcement, Planning Division




      TRANSPORTATION

      Air (Norman Y. Mineta San Jose Int'l)
      Annual Passengers                                                                    8.4 million
      Major Passenger Airlines                                                                      11
      Nonstop Service Destinations                                                                  32

      Rapid Transit (BART)                                                                 Scheduled
      **Under Construction (Berryessa)**                                                        2018

      Commuter Rail (Caltrain)                                                            Systemwide
      Weekday Ridership                                                                        42,354
      Stations                                                                                     33

      Light Rail                                                                          Countywide
      Annual Ridership                                                                    10.0 million
      Stops                                                                                         62

      Bus                                                                                 Countywide
      Annual Ridership                                                                    32.0 million
      Stops                                                                                     4,300

      Mean Travel Time to Work                                                            26.8 minutes

      Source: City of San Jose, 2014;
      US Census Bureau, American Community Survey; 2014
      PUBLIC SAFETY                                                                                                  CLIMATE
                                          Crime Rate
                                  (Crimes per 1,000 population)                                                      Seasonal Temperatures
           80
                                                                    67 3                                                Month                        Avg. Temp
           70
                                                                              57 1                                      January                        50 °F
           60
                                                                                                                         April                         58 °F
           50                                            43 0                             42 5                            July                         70 °F
                                               39 6
           40                        33 6                                                                               October                        63 °F
                     27 6
           30
           20                                                                                                           Annual                          60 °F
           10
                                                                                                                     Seasonal Rainfall
            0
                                                                                           Seattle
                       San Jose


                                      Boston




                                                                     Dallas
                                                          Phoenix
                                                Denver




                                                                               Portland




                                                                                                                        Month                        Avg. Rainfall
                                                                                                                        January                       2.78 in.
                                                                                                                         April                        1.17 in.
                     San Jose is rated as one of the                                                                      July                        0.06 in.
                     "Safest Big Cities" in the nation.                                                                 October                       0.90 in.

                                                                                                                        Annual                        14.42 in.
      Source: Federal Bureau of Investigation; 2014


                                                                                                     Page 10 of 10
Case 1:16-cv-04756-NGG-VMS Document 123-9 Filed 12/15/17 Page 11 of 16 PageID #:
                                   2185




          EXHIBIT MM
Case 1:16-cv-04756-NGG-VMS Document 123-9 Filed 12/15/17 Page 12 of 16 PageID #:
                                   2186
                                        Gene Hamilton
     Martin Vidal, et al v. Elaine Duke, et al                         10/20/2017


                                                                             1
        1               IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK
        2
        3    --------------------------x
                                       )
        4    MARTIN JONATHAN BATALLA   )
             VIDAL, et al.,            )
        5                              )
                          Plaintiffs, )
        6                              ) Case Nos.
                         v             ) 1:16-CV-04756(NGG)(JO)
        7                              ) 3:17-CV-05211
             ELAINE C. DUKE, Acting    )
        8    Secretary Department of   )
             Homeland Security         )
        9    JEFFERSON BEAUREGARD      )
             SESSION III, Attorney     )
      10     General of the United     )
             States,and DONALD J TRUMP,)
      11     President of the UNITED   )
             STATES,                   )
      12                               )
                          Defendants. )
      13                               )
             --------------------------x
      14
      15                       Deposition of GENE HAMILTON
      16                              Washington, DC
      17                         Friday, October 20, 2017
      18                                9:17 a.m.
      19
      20     Job No.: 37567
      21     Pages: 1 - 233
      22     Reported by: Donna Marie Lewis, RPR, CSR (HI)


     Olender Reporting, Inc.          (888) 445-3376              WORLDWIDE
     Washington, D.C.                 Baltimore, MD                   Florida
Case 1:16-cv-04756-NGG-VMS Document 123-9 Filed 12/15/17 Page 13 of 16 PageID #:
                                   2187
                                        Gene Hamilton
     Martin Vidal, et al v. Elaine Duke, et al                         10/20/2017


                                                                           205
        1    multiple edits made to the document.
        2           Q      Did you draft that memorandum?
        3                  MR. GARDNER:        You can answer that yes or
        4    no.
        5                  THE WITNESS:        Principally, yes.
        6    BY MS. TUMLIN:
        7           Q      On what date did you first draft that
        8    memo?
        9           A      I don't know.
      10            Q      What month?
      11            A      August or September.         I don't remember
      12     it was late August, early September.
      13            Q      Okay.     You previously testified that the
      14     final decision to terminate DACA was not made
      15     until Acting Secretary Duke signed the memorandum
      16     which you principally drafted.             Is that correct?
      17            A      That is correct.
      18            Q      Did you also draft an alternative
      19     memorandum that kept the DACA program in place?
      20                   MR. GARDNER:        Objection.   Calls for
      21     information subject to the deliberative process
      22     privilege.        I instruct the witness not to answer.



     Olender Reporting, Inc.          (888) 445-3376               WORLDWIDE
     Washington, D.C.                 Baltimore, MD                    Florida
Case 1:16-cv-04756-NGG-VMS Document 123-9 Filed 12/15/17 Page 14 of 16 PageID #:
                                   2188
                                        Gene Hamilton
     Martin Vidal, et al v. Elaine Duke, et al                         10/20/2017


                                                                           207
        1    the DACA program had been made.               Correct?
        2           A          That -- that is generally correct,
        3    although I will say again, no final decision is
        4    ever made until there is ink on paper.               That is
        5    the fundamental difference.                There may have been
        6    tentative decision, but until a secretary of a
        7    cabinet department makes a decision in writing or
        8    in whatever method is appropriate for the
        9    circumstance the decision is technically not
      10     final.
      11            Q          Was there a substantively alternative
      12     version of a DACA memorandum that was circulating
      13     prior to September the 5th that could have been
      14     signed by Acting Secretary Duke?
      15                       MR. GARDNER:     Objection.    Calls for
      16     disclosure of information subject to deliberative
      17     process privilege.           I instruct the witness not to
      18     answer.
      19     BY MS. TUMLIN:
      20            Q          Okay.   Does DHS have a policy on how to
      21     deal with litigation risk?
      22




     Olender Reporting, Inc.           (888) 445-3376              WORLDWIDE
     Washington, D.C.                  Baltimore, MD                   Florida
Case 1:16-cv-04756-NGG-VMS Document 123-9 Filed 12/15/17 Page 15 of 16 PageID #:
                                   2189
                                        Gene Hamilton
     Martin Vidal, et al v. Elaine Duke, et al                         10/20/2017


                                                                           208
        1           A      Do we have a policy on how to deal with
        2    litigation risk?
        3           Q      Uh huh.
        4           A      Nothing in writing.
        5           Q      Okay.     So there is -- is there any
        6    policy on how to deal with threats to sue by state
        7    or local officials?
        8           A      No.    And that sounds like the craziest
        9    policy you could ever have in a department.               You
      10     could never do anything if you were always worried
      11     about being sued.
      12            Q      Are you familiar with the executive
      13     order issued by President Trump with respect to
      14     sanctuary jurisdictions?
      15            A      That -- I believe that is in Executive
      16     Order 13768.        I am familiar.
      17            Q      And are you aware that several
      18     municipalities have sued the federal government on
      19     the basis of that executive order?
      20            A      In general I am, yes.
      21            Q      Are you aware that some of these
      22     lawsuits have successfully blocked parts of the



     Olender Reporting, Inc.          (888) 445-3376              WORLDWIDE
     Washington, D.C.                 Baltimore, MD                   Florida
Case 1:16-cv-04756-NGG-VMS Document 123-9 Filed 12/15/17 Page 16 of 16 PageID #:
                                   2190
